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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION
                              LEXINGTON

CRIMINAL ACTION NO. 5:24-cr-120-KKC

UNITED STATES OF AMERICA                                                   PLAINTIFF


V.                      MOTION OF UNITED STATES
                    FOR ISSUANCE OF ARREST WARRANT


VICTORIAN VALDIMAR HARDAWAY                                              DEFENDANT
    aka VIC

                                    * * * * *

      The United States moves for the issuance of an arrest warrant for the presence of

the Defendant, VICTORIAN VALDIMAR HARDAWAY, aka VIC, returnable

forthwith.

                                       Respectfully submitted,

                                       CARLTON S. SHIER, IV
                                       UNITED STATES ATTORNEY

                                  By: /s/ Brittany Baker
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